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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

 Case No.     LA CV21-05612 JAK (JEMx)                                          Date        October 20, 2021
 Title        Edward R. Roybal, Jr. v. Crystal Torres, et al.




 Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                               Not Reported
                   Deputy Clerk                                      Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                     Not Present                                              Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION RE CRYSTAL TORRES, OSCAR ACEVEDO, AND
                         RAMON MIRAMONTES

The Court, on its own motion, orders Plaintiff to show cause in writing no later than October 25, 2021
why this action should not be dismissed for lack of prosecution regarding overdue responses, as to
Crystal Torres, Oscar Acevedo, and Ramon Miramontes. Pursuant to Rule 55 of the Federal Rules
of Civil Procedure, Plaintiff shall file an application requesting the entry of default. Plaintiff is advised
that the Court will consider the filing of an application, which complies with the federal rules, on or
before the date upon which the response is due, as a satisfactory response to the Order to Show
Cause. The Order to Show Cause will stand submitted upon the filing of an appropriate response. No
oral argument will be heard unless otherwise ordered by the Court. Failure to respond will result in the
dismissal of this matter.


IT IS SO ORDERED.




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                                                             Initials of Preparer      TJ




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